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 6   Attorney for Defendant
 7   RAUL BARAJAS
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       2:18-CR-0009 TLN
12                              Plaintiff,           STIPULATION AND ORDER TO
13                                                   MODIFY CONDITIONS OF
                     v.                              PRETRIAL RELEASE
14
15   RAUL BARAJAS,
16                            Defendant.
17
18
             In February 2018, Mr. BARAJAS was released on conditions and has been
19
     supervised by the Pretrial Services Agency. After consultation with Assistant United States
20
     Attorney Justin Lee and Pretrial Services Officer Darryl Walker, the defense requests and
21
     the government does not oppose, that Mr. BARAJAS’s conditions of pretrial release be
22
     modified as follows.
23
             DELETE the Electronic Monitoring condition (#15 of Special Conditions of
24
     Release).
25
             All other conditions remain in full force and effect (please see the attached Amended
26
     Special Conditions of Release).
27
     \\\\\
28
     \\\\\


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             Case 2:18-cr-00009-TLN Document 80 Filed 09/12/18 Page 2 of 2


 1
 2                                            Respectfully submitted,
 3
 4   Dated: September 11, 2018                /s/Tasha Paris Chalfant
                                              TASHA PARIS CHALFANT
 5
                                              Attorney for Defendant
 6                                            RAUL BARAJAS
 7
     Dated: September 11, 2018                /s/ Tasha Paris Chalfant for
 8                                            JUSTIN LEE
                                              Assistant United States Attorney
 9                                            Counsel for Plaintiff
10
11
12                                     ORDER
13         IT IS SO ORDERED.
14
15   Dated: September 12, 2018
16
17
18
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